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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

  AMAZON.COM, INC. and AMAZON DATA
  SERVICES, INC.,
             Plaintiffs,
       v.
  WDC HOLDINGS LLC dba NORTHSTAR
  COMMERCIAL PARTNERS; BRIAN
  WATSON; STERLING NCP FF, LLC;
  MANASSAS NCP FF, LLC; NSIPI
  ADMINISTRATIVE MANAGER; NOVA
  WPC LLC; WHITE PEAKS CAPITAL LLC;
  VILLANOVA TRUST; CASEY
  KIRSCHNER; ALLCORE DEVELOPMENT                CASE NO. 1:20-CV-484-LO-TCB
  LLC; FINBRIT HOLDINGS LLC;
  CHESHIRE VENTURES LLC; CARLETON
  NELSON; JOHN DOES 1-20,
             Defendants.

  800 HOYT LLC,
             Intervening Interpleader
             Plaintiff, Intervening
             Interpleader Counter-
             Defendant,
       v.
  BRIAN WATSON; WDC HOLDINGS, LLC;
  BW HOLDINGS; LLC,
             Interpleader Defendants,
       and
  AMAZON.COM, INC., and AMAZON DATA
  SERVICES, INC.,
             Interpleader Defendants,
             Interpleader Counter-Plaintiffs.


    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTION TO THE COURT’S
  NOTICE OF GROUNDS FOR JUDICIAL DISQUALIFICATION AND NON-RECUSAL
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         Plaintiffs Amazon.com, Inc. and Amazon Data Services, Inc. (“Amazon”) hereby respect-

  fully respond to the objections that Defendants WDC Holdings LLC, Brian Watson, Sterling NCP

  FF, LLC, Manassas NCP FF, LLC, Carleton Nelson, and Cheshire Ventures (“Defendants”) filed

  to the Court’s Notice of Grounds for Judicial Disqualification, Dkt, 452, and oppose Defendants’

  “request that [the Court] recuse from further involvement in this matter,” Dkt. 463 at 3 (Mot.).

                                          INTRODUCTION

         On December 14, 2021, the Court notified the parties that the presiding judge previously

  held a financial interest outside the statutory “safe haven” for investments, but had fully divested

  that interest and, after “reviewing all the facts and circumstances” required by the judicial code,

  “concluded that disqualification is not required.” Dkt. 452 at 1–2. That decision is squarely sup-

  ported by the record and the law in Defendants’ motion. Mot. 10 (citing 28 U.S.C. § 455 and

  Centripetal Networks, Inc. v. Cisco Sys., Inc., 492 F. Supp. 3d 615, 619 (E.D. Va. 2020)).

         Section 455, the statute governing disqualification, sets out two separate rubrics for recusal

  in subsections (a) and (b). Defendants’ motion states that “recusal is warranted” only “under 28

  U.S.C. § 455(a),” Mot. 10, which addresses situations involving the “‘appearance of impartiality,’”

  id. at 9 (quoting Centripetal). But the motion does not present any basis for recusal under that

  subsection. It addresses only a stock ownership interest that the Court has already divested in

  accordance with the more specific statutory provisions in Sections 455(b)(4) and (f) that do not

  require disqualification here. Dkt. 452.

         Further, even accepting Defendants’ reliance on Section 455(a), the “relevant facts” do not

  support recusal. Mot. 10–11. Defendants make much of their lack of success in the litigation, but

  the reason things have “not gone well for” them in this case and related actions, id. 2, is that there

  is clear evidence of their widespread fraud and kickback scheme targeting over $500 million in
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  Amazon development projects. Indeed, in one of several audio transcripts in the record here, De-

  fendant Nelson admits that the “first couple distributions” he and co-defendant Casey Kirschner

  “took” on these projects were “some sketchy a** sh**,” Dkt. 348 at 8 n.6, that Nelson had “taken

  960 total” and Kirschner “eight something” from “all Brian [Watson]’s fees,” id., and that he and

  Kirschner could continue getting kickback deals approved because people at Amazon are “f******

  idiot[s],” id. When the FBI served warrants to investigate this and other misconduct, Defendant

  Watson threatened to obstruct access to evidence and assets, prompting the injunction and related

  rulings the motion describes. Mot. 4-6.

          The rulings against Defendants are not only from this Court, where they claim a conflict

  exists. A Fourth Circuit panel unanimously upheld the injunction against Watson and Northstar

  this summer, and this Court’s related rulings have been endorsed by several other judges based on

  evidence that independently supported federal grand jury proceedings and civil forfeiture actions

  against Defendants. Their motion does not mention any of this history. Nor does it mention this

  Court’s extraordinary efforts to accommodate their positions over nearly two years of litigation.

  The presiding judge modified the injunction at their request, and granted them countless procedural

  accommodations while they dissipated assets and obstructed this case. They have now been in

  unabated contempt of multiple orders for over a year. But instead of imposing the full range of

  justifiable sanctions, the Court granted their request to proceed with merits discovery. In response,

  Defendants have not produced a shred of exculpatory evidence. They have instead spent weeks

  publicizing their “David and Goliath” narrative and chasing news reports about judicial disclosures

  in a further effort to distract from the merits of this suit. Mot. 2. The result is a motion to disqualify

  a respected jurist based on an interest the Court has fully addressed under the controlling statute,

  and a record Defendants are forced to distort because it reflects the impartiality the law requires.

  The motion should be denied and this case should proceed on the merits.

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                                          BACKGROUND

         The Court’s notice discloses an investment governed by 28 U.S.C. § 455. Dkt. 452. The

  notice says the investment was not substantially affected by this matter, and has already been com-

  pletely divested. Id. at 2. Controlling authority supports the Court’s decision not to disqualify,

  and Defendants show no abuse of discretion. In arguing otherwise, they once again distort the law

  and facts to bring “baseless charge[s] against the integrity and impartiality of [this] court.” Ama-

  zon.com, Inc. v. WDC Holdings LLC, 2021 WL 3878403, at *9 (4th Cir. Aug. 31, 2021).

                                        RELEVANT FACTS

         Defendants’ “procedural history,” Mot. 3-7, deliberately omits facts that must be consid-

  ered even under their reading of Section 455. See, e.g., Dkt. 150. Those facts, which are summa-

  rized below, confirm that recusal would result in a substantial waste of judicial resources in clear

  contravention of Section 455(f). They also confirm that Section 455(a) does not warrant recusal

  based on the Court’s divested financial interest or its rulings against Defendants, which have al-

  ready been endorsed by other judges including a unanimous appellate panel. Dkts. 99, 318, 319.

         2020 Complaint, TRO, and Preliminary Injunction (Mot. ¶¶ 4-7). Defendant Brian Wat-

  son is the owner of Defendant WDC Holdings, a Colorado real estate development company op-

  erating as Northstar. Amazon.com, Inc. v. WDC Holdings LLC, 2020 WL 4353563 (E.D. Va. July

  28, 2020). Beginning in 2017, Watson cultivated a relationship with former Amazon real estate

  transaction managers—co-defendants Carleton Nelson and Casey Kirschner, id.—who, as detailed

  in prior pleadings and orders, steered transactions to WDC Holdings and Brian Watson (the

  “Northstar Defendants”) in exchange for kickbacks. Dkts. 10–12, 41–47, 57, 68–69, 84–85, 100,

  150, 191, 210–218, 231, 256, 285–86, 291, 308, 330, 349. After the FBI served search warrants

  at Defendant Watson’s home, he threatened to interfere with evidence and assets. Accordingly,

  Amazon filed a complaint and petition for temporary restraining order (TRO) in this Court.


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         The Court granted the TRO based on a substantial “body of evidence including spread-

  sheets, wire transfer instructions, email exchanges, recorded conversations, and other materials

  implicating defendants in the alleged scheme.” Amazon v. WDC Holdings, 2020 WL 4353563, at

  *3. Then, after weeks of litigation (extended at Defendants’ request, Mot. ¶ 6), Dkts. 9, 10, 30,

  39, 41, and a lengthy hearing (which was “by telephone,” Mot. ¶ 7, due to pandemic closures), the

  Court converted the TRO to a preliminary injunction compelling the Northstar Defendants to pre-

  serve evidence and secure unjust gains during the pendency of this case. Dkt. 99.

         Defendants’ motion fails to mention that the Fourth Circuit unanimously affirmed that in-

  junction. Amazon.com, Inc. v. WDC Holdings LLC, 2021 WL 3878403 (4th Cir. Aug. 31, 2021).

  It also fails to mention that this Court granted their request to delay the injunction’s entry so they

  could obtain a bond, Dkts. 49–51, and that when they failed to do so the Court modified the order

  to permit other security options. Amazon.com, Inc. v. WDC Holdings, LLC, 2020 WL 4720086

  (E.D. Va. June 5, 2020); see also Dkt. 84 at 2. Defendants have defied all of these provisions to

  this day, and refuse to post a penny of the amount affirmed on appeal even though the “newly

  appointed receiver,” Mot. 2, has confirmed that they liquidated over $140 million in assets—and

  obtained millions in loans—during the injunction period.

         Initial Contempt, Discovery, and Sanctions Proceedings (Mot. ¶¶ 9-12, 16-23). When

  Defendants began dissipating assets in violation of the injunction, Amazon promptly initiated con-

  tempt proceedings. Dkts. 67, 68. But the Court deferred this relief, and instead directed Defend-

  ants to produce discovery substantiating their objections to injunction compliance. Dkt. 193 at

  26:10–12, 27:1–8, 27:23–24; Dkt. 95. They refused. For over a year, they “willfully failed to

  comply” with the injunction and discovery rulings despite multiple orders to compel, Dkt. 330,

  causing further “prejudice to the plaintiffs in terms of their ability to enforce the injunction, or

  perhaps, even recoup the funds,” Dkt. 350-1 at 7:5–7. Through it all, the Court declined to impose

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  the full range of relief the law allows for such misconduct, and encouraged Defendants to develop

  their case. Dkts. 193-2 at 18:25–19:1; 349 at 7–8; 351-3; 351-48.

         Dismissal and Transfer Proceedings (Mot. ¶¶ 13-15, 19-21). In parallel with the exten-

  sive injunction proceedings against the Northstar Defendants, the Court progressed the action with

  respect to all named defendants, several of which have defaulted. Dkts. 406, 447. Amazon twice

  amended its complaint to plead additional evidence of the conspiracy, Dkts. 100, 150, Nelson and

  Kirschner moved to transfer the entire case to Seattle, Dkts. 164, 165, and all Defendants moved

  to dismiss, Dkts. 174, 175, 176, 179, 181, 182. Amazon opposed these motions in this Court and

  in Seattle. Dkts. 210, 219. Consistent with the Fourth Circuit’s unanimous injunction affirmance

  (which requires likelihood of success on the merits), this Court found Amazon’s claims “ade-

  quately pled to survive the Motions to Dismiss,” Dkt. 256 at 1, 6, and denied the transfer request

  because it “would lead only to wasted time and resources” and “would prejudice the other parties

  unnecessarily.” Id. at 6. Meanwhile, the Seattle court agreed to stay Nelson’s case there until

  proceedings conclude here.

         2021 Contempt, Interpleader, Receivership, and Pre-Trial Proceedings (Mot. ¶¶ 27-29).

  After the Fourth Circuit affirmed the injunction, Dkts. 318, 319, Amazon renewed its motion for

  contempt. Dkt. 347. The Northstar Defendants opposed, Dkts. 343, 356, and one of their affiliates

  intervened to interplead funds covered by the injunction, Dkts. 334, 335, 407. After voluminous

  briefing and dozens of evidentiary submissions, the Court held the Northstar Defendants “in willful

  civil contempt of the Court’s Preliminary Injunction.” Dkt. 413 at 1. But even then, it declined to

  impose the full range of sanctions available under circuit law. Instead, it appointed a third-party

  Receiver to manage the Northstar Defendants’ assets until they purged their contempt. Dkt. 433.

         The Receiver has since confirmed Defendants’ continued obstruction of the injunction,

  including the unauthorized disposition of assets and recording of undisclosed liens in favor of their

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  defense counsel. Dkt. 440. However, the Court has not imposed any further sanctions. Instead,

  it granted Defendants’ request to set a schedule for merits discovery and trial this spring. Dkt.

  455. That discovery started weeks ago, but Defendants have not produced any exculpatory evi-

  dence. The final pre-trial conference is now set for April 15, 2022, with a trial to follow in June.

                                             ARGUMENT

           Section 455(a), which is the basis for Defendants’ recusal request, Mot. 10, states a general

  rule that “[a]ny justice, judge, or magistrate judge of the United States shall disqualify himself in

  any proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C. § 455(a).

  Subsections (b) and (f), which the Court addressed in its December 14 notice, Dkt. 452, are more

  specific and set out precise guidance on recusal in situations involving the particular type of stock

  interest at issue here. Subsection (b)(4) presumptively requires recusal where a judge “knows that

  he, individually or as a fiduciary, or his spouse or minor child residing in his household, has a

  financial interest in the subject matter in controversy or in a party to the proceeding, or any other

  interest that could be substantially affected by the outcome of the proceeding.” 28 U.S.C.

  § 455(b)(4).1 Defendants admit, Mot. 9, that this provision requires the judge to have “actual

  knowledge” of a prohibited “financial interest,” which the statute defines to exclude party stock

  held through a “mutual fund,” 28 U.S.C. § 455(d)(4)(i). Further, Section 455(f) says that even

  where a judge has actual knowledge of a proscribed financial interest, recusal is not required where

  the judge has devoted “substantial judicial time . . . to the matter,” “divests” the interest following

  its “appearance or discovery,” and concludes that the interest is not one that could have been “sub-

  stantially affected by the outcome” of the case.2



  1
      All emphasis is supplied unless otherwise noted.
  2
    Section 455(f) states in full: “Notwithstanding the preceding provisions of this section, if any
  justice, judge, magistrate judge, or bankruptcy judge to whom a matter has been assigned would

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         The upshot of these statutory provisions, which the Court applied in its notice, Dkt. 452,

  is that even a judge with actual knowledge of a direct stock holding in a party need not recuse if

  he divests the interest and it was not one that could have been substantially affected by his rulings.

  The Court’s recent published decision in Centripetal Networks, which is the leading case in De-

  fendants’ motion, illustrates this point. In Centripetal, Judge Morgan’s “administrative assistant

  discovered during preparation of [his] judicial financial disclosure reporting that [his] spouse

  owned 100 shares of” stock in one of the parties. Centripetal Networks, Inc. v. Cisco Sys., Inc.,

  492 F. Supp. 3d 615, 617 (E.D. Va. 2020). After a comprehensive discussion of relevant authori-

  ties, the Court concluded, on facts similar to those here, that “a reasonable person would not con-

  clude that the Court knew of his spouse’s ownership and proceeded to hear the case nonetheless.”

  Id. at 620. The Court further concluded that divestment, which took place a month after the Court

  discovered the potential conflict, “was an effective cure.” Id. at 624 (quotation marks omitted).

         That decision, like the Court’s non-recusal decision here, accords with Section 455(f) and

  conflict precedents across federal circuits.3 It also accords with the Court’s duty to avoid needless

  recusal. “[A] judge is as much obliged not to recuse himself when it is not called for as he is

  obliged to when it is.” Muchnick v. Thomson Corp., 509 F.3d 136, 140 (2d Cir. 2007) (quotation



  be disqualified, after substantial judicial time has been devoted to the matter, because of the ap-
  pearance or discovery, after the matter was assigned to him or her, that he or she individually or
  as a fiduciary, or his or her spouse or minor child residing in his or her household, has a financial
  interest in a party (other than an interest that could be substantially affected by the outcome), dis-
  qualification is not required if the justice, judge, magistrate judge, bankruptcy judge, spouse or
  minor child, as the case may be, divests himself or herself of the interest that provides the grounds
  for the disqualification.”
  3
     See, e.g., Kidder Peabody & Co. v. Maxus Energy Corp., 925 F.2d 556, 561 (2d Cir. 1991)
  (affirming non-recusal decision under Section 455(f) where presiding district judge learned after
  three years on the case that he owned stock in the parent company of one of the parties); Maharam
  v. Patterson, 369 F. App’x 240, 242 (2d Cir. 2010) (same, where district judge discovered that her
  son had owned a potentially disqualifying interest earlier in the litigation but had sold the stock);
  United States v. Pappert, 1 F. App’x 767, 769 (10th Cir. 2001) (same where district judge was
  unaware of a proscribed interest early in the case, and promptly divested it upon discovery).
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  marks omitted). Thus, in deciding a recusal motion under Section 455, “judges must balance

  [their] duty to appear impartial against several practical considerations, including the availability

  of other judges, the cost in judicial resources of recusal and reassignment of the case to different

  judges, and the interest of the parties and the public in a swift resolution of the dispute.” Id. (cita-

  tion omitted). The Court’s notice balances all of these considerations in accordance with Section

  455 and the authorities in Defendants’ filing.

  I.      DEFENDANTS CONCEDE NO BASIS FOR SECTION 455(b) RECUSAL

          Even where a financial interest raises grounds for disqualification under Section 455(b)(4),

  Section 455(f) creates an exception for precisely the situation here. The statute says that if a judge

  “discover[s]” after “substantial judicial time has been devoted to a matter” that a “spouse” has a

  “financial interest in a party,” “disqualification is not required” if the spouse “divests . . . herself

  of the interest” and it is not one “that could be substantially affected by the outcome” of the litiga-

  tion. 28 U.S.C. § 455(f). This provision “presents a clean trade-off between efficiency and im-

  partiality,” and “permits a judge with a financial conflict of interest . . . to remain on the case if he

  has devoted substantial time to the matter and divests himself of the interest.” Kolon Indus. Inc.

  v. E.I. DuPont de Nemours & Co., 748 F.3d 160, 170 (4th Cir. 2014). The Court found each of

  these requirements satisfied here, Dkt. 452, and Defendants do not try to refute its findings.

          Notably, they do not dispute that the interest the Court addressed in its December 14 notice

  was “divested . . . once [the Court] discovered it.” Centripetal Networks, 492 F. Supp. 3d at 623

  (quotation marks omitted). Nor do they seek recusal based on the Court’s analysis of any of the

  divestment and cure provisions in Section 455(b) and 455(f) of the statute. Their motion asserts

  only that “recusal is warranted under 28 U.S.C. § 455(a).” Mot. 10.




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  II.    DEFENDANTS’ SECTION 455(a) CLAIM FAILS ON THE LAW AND RECORD

         A.       Defendants’ Section 455(a) Claim Fails as a Matter of Law

         Defendants’ Section 455(a) arguments are misplaced because they rely on a financial in-

  terest that does not require disqualification under the more specific statutory provisions the Court

  addressed in its notice. Mot. 10 (identifying the stock divested under Sections 455(b) and (f) as

  the basis for their “appearance of impartiality” argument under subsection (a)). Defendants cite

  no authority for ignoring Subsections (b) and (f) in favor of Subsection (a), which cannot be read

  in isolation. The individual provisions of a statute must be interpreted in the “broader context of

  [Section 455] as a whole.” Country Vintner of N.C., LLC v. E & J Gall Winery, Inc., 718 F.3d

  249, 259 (4th Cir. 2013) (quoting In re Total Realty Mgmt. LLC, 706 F.3d 245, 251 (4th Cir.

  2013)). That is particularly true here because Defendants concede that even where a judge has

  “actual knowledge” of stock ownership they say a “reasonable person” would recognize as a con-

  flict, Mot. 9, the judge “may cure” it by divesting the interest under Subsection 455(f), which is

  what the presiding judge did. Mot. 9 (citing 28 U.S.C. § 455(f) and Central Tel. Co. of Va. v.

  Sprint Commc’ns Co. of Va., 2011 WL 6178652 at *5 (E.D. Va. Dec. 12, 2011) (collecting author-

  ities)).4 Defendants nonetheless insist that this divested interest requires recusal for optical reasons

  under Section 455(a) because divestiture “cannot make an apparently biased judge appear to be

  impartial in the eyes of the litigants and public in general.” Mot. 11. This argument is legally and

  factually unsupported.



  4
    Defendants do not contest the Court’s notice of Section 455(f) divestiture. Notably, they do not
  dispute the judge’s statement that he had no “actual knowledge” of the “direct” nature of the in-
  vestment (which is the feature that brought it within Section 455’s scope) until last month, or that
  his spouse fully divested the interest the following week. Mot. 11. They also do not dispute the
  judge’s conclusion that the interest was not one that “could be substantially affected by the out-
  come” of the case. 28 U.S.C. § 455(f). Nor could they, because here as in Centripetal, the interest
  was “in a large, publicly held corporation with diverse interests and revenues in the billions.”
  Centripetal Networks, 492 F. Supp. 3d at 624 (quotation marks omitted).
                                                     9
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         First, it focuses on an “appearance of impartiality,” id. at 9, that Section 455(f) already

  addresses in providing a divestment “cure” for “the appearance or discovery” of the financial

  conflict they assert. Second, Defendants’ own conduct confirms that the stock interest here did

  not create the “appearance” of bias to anyone, much less to “litigants and public in general.” Mot.

  11. Indeed, they stress that the interest was “not” made “readily available to the public or litigants.”

  Mot. 3. That is important, because they are the litigants who had the greatest motivation to inves-

  tigate the alleged conflict in making what the Fourth Circuit termed “baseless” attacks on the “in-

  tegrity” of this Court’s injunction. Dkt. 318 at 22. But as their motion explains, they requested

  the presiding judge’s financial disclosures only after the “Wall Street Journal reported” on conflicts

  created by judicial stock ownership “on or around September 28, 2021.” Mot. 6. This history

  belies their argument that the stock interest listed in his financial disclosures created the appear-

  ance of “bia[s]” in the “eyes of the litigants and public in general.” Mot. 11. If that were true,

  Defendants would (and should) have raised it long before now. See, e.g., Lindsey v. City of Beau-

  fort, 911 F. Supp. 962, 966 (D.S.C. 1995) (a request for disqualification must be made “at counsel’s

  first opportunity after discovery of the disqualifying facts”).

         B.      Defendants’ Section 455(a) Claim Also Fails Because It Ignores “All Relevant
                 Circumstances” for Recusal

         Recusal is not warranted for the reasons above. But even accepting Defendants’ argument

  that a financial interest can require recusal under Section 455(a) after it is divested in accordance

  with Section 455(f), their motion does not satisfy their own description of Section 455(a)’s dis-

  qualification standard. Defendants say “[r]ecusal to address the appearance of partiality [under

  Section 455(a)] ‘is required even when a judge lacks actual knowledge [under Sections 455(b) and

  (f)] of the facts indicating his interest or bias in the case if a reasonable person, knowing all the

  circumstances, would expect that the judge would have actual knowledge” of a “disqualifying

  financial interest.” Mot. 9-10 (quotation omitted). They then say this test is satisfied here because,
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  “based on” the selective facts in their motion, “a reasonable observer might well conclude that

  Judge O’Grady knew of his spouse’s financial interest in Amazon when [the] case was assigned

  to him, yet decided to take the case” anyway. Mot. at 11. This argument fails because their motion

  does not address “all the circumstances” they admit Section 455(a) requires for disqualification.

         To start, it does not address “all the circumstances” relevant to the challenged stock hold-

  ing. Even under Defendants’ view of Section 455(a), the recusal question is not whether Judge

  O’Grady “knew of his spouse’s financial interest in Amazon when [the] case was assigned to him.”

  Mot. 11. It is whether a “reasonable person” would conclude, based on “all the circumstances”

  surrounding his disclosures, that he should have known it was a “disqualifying” interest: namely,

  a “direct” interest rather than an interest held through a “mutual fund.” Id. 10; see 28 U.S.C.

  § 455(c); Dkt. 452 (citing authorities). Defendants gloss over this critical point in asserting that

  the judge should have recused simply because his disclosures “show that, since at least 2015,” his

  wife held “ownership of Amazon stock in ‘Brokerage Account #1.” Mot. 3.

         This disclosure does not show that the stock interest was direct (and thus presumptively

  “disqualifying”), particularly under “all the circumstances” addressed in the Court’s December 14

  notice. As the notice explains, Section 455 creates a “safe haven” for stocks held through mutual

  funds. Dkt. 452. That exception is set forth in Section 455 itself, which states that “ownership in

  a mutual or common investment fund that holds securities is not a ‘financial interest’” for purposes

  of the recusal inquiry here. 28 U.S.C. § 455(d)(4)(i). Brokerage accounts are routinely used to

  purchase and hold interests in mutual funds,5 so the “Brokerage Account #1” disclosure on which




  5
    See, e.g., How to Buy Mutual Funds, Forbes Advisor (Jan. 14, 2021)
  https://www.forbes.com/advisor/investing/how-to-buy-mutual-funds/, last visited December 28,
  2021 (“You buy mutual funds using an investment account,” which you can do “through your
  workplace 401(k)” or “through an online broker [or] financial advisor”).
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  Defendants stake their recusal claim is consistent with a “safe haven” interest. And the disclo-

  sure’s list of specific stocks associated with that account could simply describe the composition of

  a mutual fund subject to the disclosure rules for reporting investment income, which say that for

  “entities with portfolio holdings,” judges must “separately disclose[]” every “underlying source of

  income.” U.S. Courts, Guide to Judicial Policy 2D § 320.20 (last revised Jan. 15, 2021). Accord-

  ingly, the breakout of stock positions in the “Brokerage Account #1” disclosure Defendants cite,

  Mot. 3, does not establish that a “reasonable person, knowing all the circumstances” would find a

  financial conflict requiring recusal. Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847,

  860–61 (1988) (quotation marks omitted).

         Defendants’ reliance on Liljeberg is instructive because, in stark contrast to this case, it

  involved facts that would cause a reasonable person to find grounds for recusal. The presiding

  judge was a Trustee of one of the parties, received correspondence in that capacity about the dis-

  pute in the litigation, attended board meetings where the dispute was discussed, and announced

  his intended rulings at a board meeting while presiding over the litigation. 486 U.S. at 856.

         The degree to which Defendants’ motion distorts the case record further underscores the

  difference between this action and their cited Section 455(a) authorities. Their motion deliberately

  omits the undeniably “relevant” fact that the presiding judge’s rulings have been endorsed or rec-

  ognized by several other judges based on evidence that independently supported federal grand jury

  proceedings. The motion also fails to disclose that—despite the presiding judge’s many accom-

  modations of Defendants’ positions—they have yet to produce any exculpatory evidence. Defend-

  ants have primarily tried to justify their conduct as authorized by their contracts with Amazon.

  But the Amazon contracts they invoke do not—and could not—authorize the kickback payments

  documented in Defendants’ own bank records and audio recordings. And after nearly two years




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  of litigation replete with opportunities to explain their actions, Defendants have produced no evi-

  dence that excuses their documented misconduct.

         These facts are all “relevant circumstances” under Section 455(a), Mot. 9-10 (citing

  Liljeberg and Centripetal), which does not support recusal here particularly because the Court has

  “devoted ‘substantial judicial time’ to th[is] matter,” Centripetal Networks, 492 F. Supp. 3d at 623

  (quotation marks omitted), and issued several complex rulings necessary to the merits proceedings

  slated for this spring. Against this backdrop, reassignment would needlessly delay this case—and

  undermine the schedule the Court recently set at Defendants’ request—to the detriment of the

  judicial “efficiency” Section 455 is designed to protect. Kolon Indus., 748 F.3d at 170.

                                           CONCLUSION

         For the foregoing reasons, Amazon respectfully requests that the Court overrule Defend-

  ants’ objections, deny their recusal request, and proceed with this case on the merits.




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   Dated: December 28, 2021    Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on December 28, 2021, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system. I will then send the document and a notification of such

  filing (NEF) to the following parties via U.S. mail to their last-known address and by email, where

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